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             UNITED STATES DISTRICT COURT
                                   District of Kansas
UNITED STATES OF AMERICA,

                      Plaintiff,

                v.                              CASE NO. 6:20-cr-10079-EFM

FREDERICK L. MARTIN,

                      Defendant.

                                    INDICTMENT

       THE GRAND JURY CHARGES:

                                         COUNT 1

             Sexual Exploitation of a Child – Production of Child Pornography
                                     18 U.S.C. § 2251(a)

       Between August 19, 2020, and October 15, 2020, in the District of Kansas, the

defendant,

                                   FREDERICK L. MARTIN,

knowingly used, persuaded, induced, enticed, and coerced and attempted to use a minor,

Minor Victim (an individual known to the Grand Jury), to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, and knowing

such visual depiction would be transmitted using any means or facility of interstate or

foreign commerce and in and affecting interstate or foreign commerce, and knowing and
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having reason to know that such visual depiction would be produced using materials that

have been mailed, shipped, and transported in and affecting interstate or foreign

commerce by any means, in violation of Title 18 U.S.C. § 2251(a).

                                        COUNT 2

     Commission of certain felonies while required to register as a Sex Offender
                                 18 U.S.C. § 2260A

       Between August 19, 2020, and October 15, 2020, in the District of Kansas, the

defendant,

                              FREDERICK L. MARTIN,

while being required to register as a sex offender under Federal law and the law of the

State of Kansas, committed a felony offense involving a minor under § 2251, to wit, the

offense listed in Count 1 of this Indictment, in violation of Title 18 U.S.C. § 2260A.

                            FORFEITURE ALLEGATION

       Upon conviction of the offenses in violation of 18 U.S.C. '' 2251, as set out in

Count 1 of this Indictment, the defendant, FREDERICK L. MARTIN, shall forfeit to

the United States of America, pursuant to 18 U.S.C. ' 2253(a)(3), any and all property

used or intended to be used in any manner or part to commit or promote the commission

of such offense of any property traceable to such property, including but not limited to:

       a silver & black Apple iPhone, model A1662, IMEI: 358633071336859;

       All pursuant to Title 18 U.S.C. § 2253 (a).




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                                        A TRUE BILL.


December 9, 2020                        /s/ Foreperson
DATE                                    FOREPERSON OF THE GRAND JURY



/s/Stephen R. McAllister
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                          It is requested that trial be held in
                                  WICHITA, Kansas




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